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                          UNITED STATES DISTRICT COURT
11
                        SOUTHERN DISTRICT OF CALIFORNIA
12
                                                 No. 17-CR-0623-JLS
13    UNITED STATES OF AMERICA,
                                                 ORDER AND JUDGMENT TO
14                v.                             DISMISS WITH PREJUDICE
15    BRUCE LOVELESS (5),
16                       Defendant.
17
18        The United States’ motion to dismiss (ECF No. 1034) is granted. The Court

19 hereby dismisses with prejudice all charges in the Indictment against defendant Bruce
20 Loveless. Bond is exonerated.
21        IT IS SO ORDERED.
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     Dated: September 15, 2022
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